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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                       CASE NO.: 1:21-CV-22441-SCOLA, JR./GOODMAN


  DONALD J. TRUMP, the Forty- Fifth
  President of the United States,
  INDIVIDUALLY AND ON BEHALF OF A
  CLASS OF PERSONS SIMILARLY
  SITUATED,

         Plaintiff and the Class,

  vs.

  TWITTER, INC., and JACK DORSEY,

         Defendants.
                                    /

                              CERTIFICATION OF JOHN Q. KELLY

         John Q. Kelly Esquire, pursuant to Rule 4(b) of the Rule Governing the Admission,

  Practice, Peer Review, and Discipline of Attorneys, hereby certifies that (1) I have studied the

  Local Rule of the United States District Court for the Southern District of Florida; and (2) I am a

  member in good standing of the Appellate Division of the Supreme Court of the State of New

  York and (3) I have not filed three of more motions for pro hac vice admission in this District

  within the last 365 days.



                                                       /s/ John Q. Kelly, Esq.
                                                        John Q. Kelly
